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 8
 9
                         UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11
                                  WESTERN DIVISION
12
13
     CIRRUS EDUCATION INC., a
14   corporation; CIRRUS (BEIJING)
     CORP.; a corporation, CIRRUS LTD.;       Case No. 2:16-CV-9194
15   a corporation; and IQ-HUB PTE LTD.,
     a corporation,                          COMPLAINT FOR:
16                                           (1) DEFAMATION,
                                             (2) INTENTIONAL INTERFERENCE
17                  Plaintiffs,                  WITH PROSPECTIVE
                                                 ECONOMIC ADVANTAGE,
18           v.                              (3) NEGLIGENT INTERFERENCE
                                                 WITH PROSPECTIVE
19   CHRISTOPHER M. ADAMS, an                    ECONOMIC ADVANTAGE,
     individual; DAVID V. ADAMS,             (4) VIOLATION OF CALIFORNIA
20   trustee of the Christopher Adams Trust;     BUS. & PROF. CODE § 17200 ET
     DVA, INC., a corporation; and               SEQ.,
21   MORGAN ADAMS, INC., a                   (5) DECLARATORY RELIEF, AND
     corporation,                            (6) INJUNCTIVE RELIEF
22
                  Defendants.
23
                                              DEMAND FOR JURY TRIAL
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                                                                         COMPLAINT
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 1         Plaintiffs CIRRUS EDUCATION INC. (“CEI”), CIRRUS (BEIJING)
 2   CORP. (“Cirrus Beijing”), CIRRUS LTD., and iQ-HUB PTE LTD. (“iQ-hub”)
 3   (collectively “plaintiffs”), allege the following against defendants CHRISTOPHER
 4   M. ADAMS (“Christopher Adams” OR “Adams”), DAVID V. ADAMS, DVA,
 5   INC. and MORGAN ADAMS, INC. (collectively, “defendants”).
 6                              NATURE OF THE ACTION
 7         1.     Defendants in this case were the plaintiffs in a California Superior
 8   Court case, captioned Christopher Adams v. David Topolewski, Los Angeles Sup.
 9   Ct. No. BC382058 (filed Dec. 11, 2007) (hereinafter, the “Superior Court Action”).
10   In the Superior Court Action, defendants here (plaintiffs there) succeeded in
11   convincing the Superior Court that a long-ago loan of only a few hundred thousand
12   dollars by Christopher Adams entitled him to a windfall $60 million-plus judgment
13   against a now-defunct company called English Xchange Pte Ltd. (“EXPL”), some
14   of its former officers, and “related” entities (collectively, the “Superior Court
15   Defendants”).1 This windfall judgment was entered following two trials in which
16   the Superior Court Defendants were unable to defend themselves. The Superior
17   Court Defendants were not given notice of the first trial, and were erroneously
18   precluded from presenting relevant evidence in the second. The $60 million-plus
19   judgment amount was premised on a one-sided and misleading set of projections
20   presented by Adams.
21         2.     The plaintiffs in this case include Cirrus Education Inc. (“CEI”), an
22   entity which acquired certain intellectual property assets from EXPL in an arms-
23   length transaction after EXPL, a failing enterprise, entered receivership pursuant to
24   Singapore law. Neither CEI, nor any of the other plaintiffs in this case, were ever
25   named as defendants in the Superior Court Action. Indeed, plaintiffs in the
26
27   1
      The “Superior Court Defendants” are David Topolewski (“Topolewski”), Victoria
     (Hong) Mu (“Mu”), EXPL, C-Interchange, Inc., ER Acquisitions, Inc., English
28   Xchange, Inc., and Wen He Educational Technology Co. Ltd.
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 1   Superior Court Action (defendants here) never even tried to amend their complaint
 2   to name the plaintiffs here, let alone serve them with process or otherwise give
 3   them notice of the proceedings in the Superior Court Action. Accordingly,
 4   plaintiffs here did not appear in the Superior Court Action to represent their
 5   interests. Remarkably, though, the Superior Court amended its judgment to hold
 6   the plaintiffs in this case—none of whom appeared in the Superior Court Action—
 7   jointly and severally liable for the $60 million-plus judgment as purported
 8   “successor entities” to EXPL.
 9         3.     Plaintiffs have specially appeared in the California Court of Appeal to
10   challenge (among other things) the Superior Court’s erroneous “successor entity”
11   finding. Plaintiffs do not seek to raise that issue in this Court. What plaintiffs seek
12   instead is a declaratory judgment from this Court finding that plaintiffs are not the
13   alter egos of the parties actually named as defendants in the Superior Court Action,
14   including EXPL. Defendants have explicitly threatened to seek to hold plaintiffs
15   liable for the judgment in the Superior Court Action under an alter ego theory, but
16   that issue has not been litigated or decided in the Superior Court Action. It is thus a
17   live controversy that is ripe for resolution here. This proceeding will not be
18   duplicative of any other.
19         4.     That plaintiffs are not alter egos of the Superior Court Defendants will
20   be demonstrated by clear and overwhelming evidence. Most notably, there is
21   almost no overlap between the shareholders of plaintiff CEI, on the one hand, and
22   the former shareholders of the now-defunct EXPL, on the other hand. For example,
23   of CEI’s over 50 individual and corporate shareholders, only three were minor
24   shareholders of EXPL. Those three shareholders held just 1.78% of EXPL’s
25   shares, and now hold just 7.23% of CEI’s shares. The nearly 93% of CEI’s equity
26   shareholders who have never had any connection to EXPL would be severely and
27   negatively affected by a finding that CEI is an alter ego of EXPL and therefore
28   should be responsible for a $60 million-plus judgment against EXPL and others.

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 1         5.     This action also seeks redress for recent tortious misconduct by
 2   defendant Christopher Adams. Apparently not content with having obtained an
 3   unfounded and exorbitant windfall judgment, Adams has recently embarked on an
 4   effort to smear and defame plaintiff Cirrus Beijing and interfere with its pending
 5   application for listing on the NEEQ stock exchange in China. On November 9,
 6   2016, Adams personally sent a letter to the NEEQ imploring the exchange to deny
 7   Cirrus Beijing’s listing application. In support of that letter, Adams made a number
 8   of demonstrably false and defamatory statements concerning Cirrus Beijing’s
 9   ownership structure, further described herein, with the intention of interfering with
10   Cirrus Beijing’s prospective economic advantage.
11         6.     Adams’ defamatory letter to the NEEQ had the desired effect. It
12   caused the investment bank handling Cirrus Beijing’s proposed listing to cease its
13   efforts to pursue the listing. This failure of Cirrus Beijing’s listing efforts—
14   proximately caused by Adams’ misconduct—will significantly hamper Cirrus
15   Beijing’s ongoing efforts to raise capital as a publicly-traded company in China and
16   will hinder its attempts to grow its business to take advantage of highly favorable
17   market conditions. Cirrus Beijing seeks compensatory and punitive damages as
18   well as an injunction to restrain Adams from making further false and/or
19   defamatory statements.
20                                      THE PARTIES
21         7.     Plaintiff CIRRUS EDUCATION INC. (“CEI”) is a Cayman Islands
22   corporation having its principal place of business in Beijing, China.
23         8.     Plaintiff CIRRUS LTD. is a Hong Kong corporation with its principal
24   place of business in Hong Kong.
25         9.     Plaintiff CIRRUS (BEIJING) CORP. is a Chinese corporation with its
26   principal place of business in Beijing.
27         10.    Plaintiff iQ-HUB PTE, LTD. is a Singapore corporation with its
28   principal place of business in Singapore.

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 1          11.   Defendant CHRISTOPHER M. ADAMS (“Christopher Adams” or
 2   “Adams”) is an individual residing in the City of Los Angeles, County of Los
 3   Angeles, State of California. Adams was a plaintiff in the Superior Court Action.
 4          12.   Defendant DAVID V. ADAMS is the trustee of the Christopher
 5   Adams Trust, being administered in the County of Los Angeles, State of California
 6   for and on behalf of the Trust's beneficiary, defendant Christopher Adams. David
 7   V. Adams, as the trustee of the Christopher Adams Trust, was a plaintiff in the
 8   Superior Court Action.
 9          13.   Defendant DVA, INC., a California corporation, is a corporation
10   which maintains its principal place of business in the County of Los Angeles, State
11   of California. DVA, Inc. was a plaintiff in the Superior Court Action.
12          14.   Defendant MORGAN ADAMS, INC., a California corporation, is a
13   corporation which maintains its principal place of business in the County of Los
14   Angeles, State of California. Morgan Adams, Inc. was a plaintiff in the Superior
15   Court Action.
16                             JURISDICTION AND VENUE
17          15.   Original jurisdiction over the claims asserted in this matter exists
18   under 28 U.S.C. §1332(a), in that the amount in controversy exceeds the sum or
19   value of $75,000, exclusive of interest and costs, and is between citizens of
20   different States and/or foreign states.
21          16.   This Court has personal jurisdiction over defendants because they are
22   all domiciled and/or have their principal place of business in California.
23          17.   Venue in this judicial district is conferred under 28 U.S.C. §1391(b),
24   (c), as the defendants reside in the Central District of California, and a substantial
25   part of the events or omissions giving rise to the claims occurred in this judicial
26   district.
27          18.   While jurisdiction and venue are appropriate for purposes of the claims
28   asserted in this case, plaintiffs do not by this action concede or waive any argument

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 1   or defense as it pertains to the issue of whether personal jurisdiction exists, or
 2   existed, over them for purposes of the Superior Court Action. Plaintiffs have made
 3   a special appearance in the California Court of Appeal (on appeal from the Superior
 4   Court Action) in order to assert their rights in that forum, which include the
 5   argument that the Superior Court did not have proper jurisdiction over them in the
 6   Superior Court Action.
 7                               FACTUAL ALLEGATIONS
 8         19.    In 2000, Victoria (Hong) Mu (“Mu”) founded C-Interchange, an
 9   educational technology company, with the goal of marketing English-language CD-
10   ROM training programs in China.
11         20.    On June 15, 2001, Christopher Adams formed an entity known as ER
12   Acquisitions II Inc. Adams used that company to advance funds to C-Interchange.
13   These funds were intended to provide C-Interchange with resources for capital
14   expenses, employee salaries, rent and other expenses. However, Adams regularly
15   failed to make agreed-upon payments. In addition, in exchange for work to be
16   performed by Adams on behalf of C-Interchange, Adams was to be paid an annual
17   salary, starting at $80,000, if and when he worked. However, Adams deferred
18   payment of this salary, purportedly in order to avoid draining the limited capital
19   resources of a start-up company. In any event, Adams did not perform the duties
20   that were expected from him in exchange for his salary.
21         21.    In October 2001, Topolewski formed an entity called English Xchange
22   Pte Ltd. (“EXPL”). At the same time, Topolewski, Mu and Adams formed an
23   entity called English Xchange, Inc. (“EXI”), with Topolewski as CEO, Mu as
24   President, and Adams as Vice President. Topolewski and Mu later told Adams that
25   he was the owner of 260,000 ordinary shares in EXPL, with two certificates
26   representing 130,000 ordinary shares held in his name by the corporate secretary in
27   Singapore.
28         22.    By 2006, EXPL had received investments from several venture capital

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 1   investors, amounting to several million dollars in total. Through the life of EXPL,
 2   it ultimately raised approximately $8 million. Adams played no role in raising any
 3   of these funds.
 4                               EXPL Enters Receivership
 5         23.    By 2007, EXPL was not in good financial shape. The company was
 6   not adequately funded, was experiencing difficulties in product development, and
 7   did not yet have any meaningful revenues (contrary to Adams’ claim that the
 8   company had many millions in annual revenues). As a result of these difficulties,
 9   combined with the effects of the global economic downturn, EXPL was insolvent.
10   By March 31, 2007, EXPL’s liabilities exceeded its assets by $2,374,645, and other
11   EXPL-affiliated entities had liabilities exceeding assets by $2,888,442.
12         24.    By 2009, EXPL began defaulting on loans. By December 31, 2009,
13   EXPL had liabilities exceeding assets by $9,966,000. The company was also
14   operating at a loss of over $6.3 million. Other EXPL-affiliated entities were
15   similarly floundering. In short, the business at the time was unsuccessful, failing
16   and insolvent.
17         25.    As a result of these financial difficulties, in December 2009 EXPL was
18   in default on its secured loans and the company’s secured creditors began to look
19   for a receiver. On March 19, 2010, EXPL’s secured creditors finally obtained the
20   appointment of an independent receiver, pursuant to Singapore law, to handle the
21   undertaking, property and assets of the company. The independent receiver,
22   Michael Seet, handled the winding down of the business. Mr. Seet, an experienced
23   Singapore CPA and receiver, had had no previous dealings or involvement with
24   EXPL, Topolewski or Mu. His appointment was approved by a Singapore court.
25         26.    During the receivership process, EXPL’s few remaining assets were
26   foreclosed upon. Abrax and IWU, two entities which had made multi-million
27   dollar secured loans to the EXPL entities, held rights to intellectual property and
28   notes as security for the loans they had made. In connection with the receivership

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 1   proceedings, EXPL’s intellectual property was valued by Stone Forest Corporate
 2   Advisory, an independent valuation company with no prior connection or
 3   relationship with EXPL (or with the plaintiffs in this case). Following that
 4   valuation analysis, EXPL’s intellectual property rights were acquired by CEI
 5   through the receivership sale process in exchange for CEI agreeing to assume a
 6   significant amount of secured debt.
 7         27.    The winding-down process was overseen and approved by the
 8   independent receiver, Mr. Seet, pursuant to Singapore law. EXPL’s subsidiary
 9   entities were similarly wound down, dissolved, or are otherwise no longer in
10   operation.
11         28.    When EXPL collapsed, Adams lost his financial stake in the company.
12   But Adams was far from the only disappointed investor. Indeed, every EXPL
13   investor lost his or her investment in the company.
14                           The Plaintiffs and Their Businesses
15         29.    The plaintiffs in this case, Cirrus Education Inc. (“CEI”), Cirrus
16   (Beijing) Corp. (“Cirrus Beijing”), Cirrus Ltd. and iQ-Hub Pte Ltd. (“iQ-Hub”), are
17   separate and distinct from EXPL and its affiliated entities.
18         30.    CEI, a Cayman Islands corporation, owns companies that provide
19   mobile education software and training in China and other Asian markets,
20   providing electronic English and Mandarin, vocational, and upselling teaching
21   services in the education and hospitality industries. It conducts research and
22   development, and owns intellectual property relating to the education software
23   business. CEI has many contracts with a variety of different companies and
24   vendors.
25         31.    CEI has approximately 50 individual and corporate shareholders. Mu
26   and Topolewski own no shares of CEI. Furthermore, of CEI’s shareholders, only
27   three were shareholders of EXPL. Those three shareholders held just 1.78% of
28   EXPL’s shares, and now hold just 7.23% of CEI’s shares. Nearly 93% of CEI’s

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 1   shareholders have never had any connection to EXPL. There is very little overlap
 2   between the shareholders of CEI, on the one hand, and shareholders of EXPL, on
 3   the other hand. None of the three shareholders who have previously owned stock in
 4   EXPL have any position or role with CEI or its operations beyond their positions as
 5   CEI shareholders. None of the companies named as defendants in the Superior
 6   Court Action are affiliates or subsidiaries of CEI.
 7         32.    Cirrus Ltd. is a Hong Kong subsidiary that is owned 100% by CEI. It
 8   is largely a holding company, but has an app store business as well. It does
 9   business primarily in Hong Kong. None of the companies named as defendants in
10   the Superior Court Action are affiliates or subsidiaries of Cirrus Ltd.
11         33.    Cirrus (Beijing) Corp. is a Chinese operating entity owned
12   approximately 22% by Cirrus Ltd. and approximately 21% by CEI. The remaining
13   shares are owned by Chinese investors, none of whom held any ownership interest
14   in EXPL. None of the companies named as defendants in the Superior Court
15   Action are affiliates or subsidiaries of Cirrus Beijing.
16         34.    iQ-Hub Pte Ltd. is a Singapore subsidiary of CEI that is owned 100%
17   by CEI. It is an operating entity that operates across Southeast Asia. None of the
18   companies named as defendants in the Superior Court Action are affiliates or
19   subsidiaries of iQ-Hub Pte Ltd.
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  1         35.    The following chart illustrates the basic corporate structure of CEI and
  2   its relevant businesses:
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 14         36.    By contrast, the corporate structure of EXPL and its affiliated entities
 15   is illustrated in the chart below. As demonstrated by these charts, there is no
 16   corporate connection whatsoever between CEI and EXPL. As reflected in the chart
 17   below, none of the plaintiffs in this case were part of, or have ever been part of, the
 18   EXPL corporate structure, whether as parents, subsidiaries or related entities.
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  1                                First Superior Court Trial
  2         37.    On December 11, 2007, Adams, the Christopher Adams Trust, DVA,
  3   Inc., and Morgan Adams, Inc. filed a lawsuit (as previously defined, the “Superior
  4   Court Action”) in Los Angeles Superior Court against the Superior Court
  5   Defendants (Mu, Topolewski, ER Acquisitions, Inc., C-Interchange, Inc., English
  6   Xchange, Inc., EXPL and Wen He Education Technology Co. Ltd.). Adams and
  7   the other plaintiffs in the Superior Court Action sought to recover as economic
  8   damages Adams’s alleged 19.7% interest in EXPL, the principal and interest on
  9   outstanding loans, and Adams’ unpaid salary. The first amended complaint, filed
 10   on April 13, 2009, asserted causes of action for fraud, constructive fraud, unjust
 11   enrichment, breach of fiduciary duty, and breach of contract. Plaintiffs in this case
 12   were not named as defendants in the Superior Court Action.
 13         38.    C-Interchange, Inc. was dismissed before trial in the Superior Court
 14   Action, but the other defendants remained in the lawsuit. However, shortly before
 15   the trial was scheduled to take place, counsel for Mu and Topolewski withdrew
 16   from the case and did not represent them at the trial. Plaintiffs are informed and
 17   believe that Mu and Topolewski did not have notice of the trial, and neither they
 18   nor any lawyer representing them appeared at that trial. Despite the absence of Mu,
 19   Topolewski, or any counsel representing them from the trial, the Los Angeles
 20   Superior Court commenced trial proceedings on August 19, 2010, and the plaintiffs
 21   presented an unopposed case.
 22         39.    Without any opposition, the Superior Court perhaps unsurprisingly
 23   found in favor of the plaintiffs in the Superior Court Action. In this unopposed
 24   trial, the trial court accepted plaintiffs’ unrebutted proffered valuation of EXPL at
 25   approximately $318 million – despite the fact that EXPL was insolvent, had laid off
 26   its staff, had no assets, was in receivership, had no business operations, and that the
 27   total investment by all investors in EXPL was only a few million dollars. The
 28   Superior Court therefore made an erroneous finding that Adams’s alleged 19.7%

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  1   interest was worth approximately $62 million. As described below, this erroneous
  2   finding would be reversed by the California Court of Appeal.
  3         40.    Following the trial and after receiving notice of the unopposed trial
  4   judgment, Mu and Topolewski engaged new counsel, and they appealed from the
  5   judgment. Mu and Topolewski argued on appeal that they were deprived of due
  6   process because they did not receive notice of the trial, and that the valuation of
  7   EXPL was unsupported by the evidence. The California Court of Appeal
  8   determined that the trial court had erred in its determination of the valuation of
  9   EXPL, and remanded the case for a new trial on valuation issues.
 10                              Second Superior Court Trial
 11         41.    Following remand, the parties engaged in discovery and motion
 12   practice, and ultimately ended up at a second trial. The plaintiffs in this case,
 13   however, again played no part in the Superior Court Action. Throughout the entire
 14   case and trial, plaintiffs in the Superior Court Action made no attempt to name any
 15   of the plaintiffs in this case as defendants in the Superior Court Action. No
 16   amendment was attempted and no notice was given. No attempt was ever made to
 17   serve the plaintiffs in this case with notice of the Superior Court Action or any of
 18   the proceedings therein.
 19         42.    At a discovery hearing held before Judge Rosenblatt in the Superior
 20   Court Action on February 9, 2016, plaintiffs in the Superior Court Action informed
 21   the court that, if they were successful in obtaining a judgment against the Superior
 22   Court Defendants, they intended to enforce that judgment against CEI. The
 23   Superior Court judge rightly questioned how the plaintiffs in the Superior Court
 24   Action intended to do so, given that CEI was not a defendant in that case:
 25                Court:        So, under your plan, your theory, Mr. Baker,
 26                              what does a judgment look like?

 27                Mr. Baker: It looks like a money judgment.

 28                Court:        Against?

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  1                Mr. Baker: Against the entities.
  2                Court:        What entities?
  3                Mr. Baker: Cirrus Education Ltd.
  4                Court:        Not a defendant.
  5                Mr. Baker: I will put on evidence of alter ego and ask you
                              for a judgment against Cirrus Ltd. and Qooco
  6                           and Hong Mu and Topolewski in the sum of
                              “x” number of dollars that we will put before
  7                           you at the time. And we will provide you with
                              a judgment and ask you to sign it.
  8
                   Court:        Okay. So I – so you should brief it. Brief the
  9                              legal mechanism.
 10                Mr. Baker: Okay.
 11
      This exchange between Adams’ counsel and the Superior Court demonstrates that
 12
      defendants intended from the beginning to seek a judgment against the plaintiffs,
 13
      yet intentionally did not inform plaintiffs of the claims so that plaintiffs would not
 14
      oppose them. Despite Judge Rosenblatt’s order that they brief the issue of how a
 15
      judgment could be enforced against CEI, plaintiffs in the Superior Court Action
 16
      (defendants in this case) made the tactical decision never to file any briefing with
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      respect to how the plaintiffs in this case could or should be liable as alter egos.
 18
            43.    Following the February 9, 2016 hearing, Judge Rosenblatt retired, and
 19
      the Superior Court Action was transferred to Judge Sotelo for further proceedings,
 20
      including trial. Defendants neglected to provide the written briefing on the alter
 21
      ego issue (as ordered by Judge Rosenblatt), apparently in the hope that the newly
 22
      assigned judge would not identify the issue. And because none of the plaintiffs
 23
      here were participants in or had any involvement with the Superior Court Action,
 24
      they were unable to raise the issue again with the court.
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            44.    The Superior Court Defendants were subsequently precluded from
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      presenting any affirmative evidence as to the relationship between the plaintiffs and
 27
      the defendants, because of evidentiary sanctions that were ordered against the
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  1   Superior Court Defendants at trial. These sanctions were ordered after the
  2   individual defendants in the Superior Court Action were unable to produce
  3   corporate documents and information relating to the plaintiffs in this case (who
  4   were not parties in the Superior Court Action). The Superior Court ordered these
  5   issue sanctions notwithstanding the facts that: (a) two separate Chinese law firms
  6   opined that handing over these corporate documents could subject Topolewski and
  7   Mu (who both reside and work in China) to civil and even criminal penalties within
  8   China; and (b) plaintiffs in the Superior Court Action never sought to serve the
  9   plaintiffs in this case with discovery.
 10         45.    As a result of the evidentiary sanctions, the Superior Court did not
 11   consider any evidence at trial regarding the lack of any connection between the
 12   Superior Court Defendants and plaintiffs, and did not allow Mu and Topolewski to
 13   present any such evidence.
 14         46.    After a one-sided trial in which the Superior Court Defendants were
 15   precluded from presenting key evidence, the Superior Court entered a judgment of
 16   over $60 million. In addition, the Superior Court made a finding that the plaintiffs
 17   in this case—who were not parties to the Superior Court Action, were not given
 18   notice of the Superior Court Action and thus were unable to appear and defend
 19   themselves—were “related entities” and “successor entities” to some of the
 20   Superior Court Defendants and that they should be jointly and severally liable for
 21   the judgment.
 22         47.    The Superior Court Defendants filed a motion for a new trial and a
 23   motion to vacate the judgment. After the Superior Court denied those motions by
 24   the Superior Court Defendants, and before plaintiffs had the opportunity to file their
 25   own motion to vacate, the Superior Court Defendants filed a notice of appeal,
 26   divesting the Superior Court of further jurisdiction over the matter. The plaintiffs
 27   subsequently, and separately, have made a special appearance in the California
 28   Court of Appeal to appeal the judgment as aggrieved non-parties. That appeal is

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  1   currently pending.
  2         48.    There are a number of bases for appealing the Superior Court’s ruling
  3   against the plaintiffs in this action (who were non-parties in the Superior Court
  4   Action). For example, the Superior Court’s application of the successor liability
  5   doctrine is unprecedented and unsupported by the law. Further, the Superior Court
  6   accepted the wholly speculative valuation of an entirely different entity proffered
  7   by the plaintiffs in the Superior Court Action, ultimately awarding them an
  8   unjustified windfall judgment.
  9         49.    An actual controversy has arisen and now exists between the parties
 10   relating to whether the plaintiffs are the alter egos of the Superior Court Defendants
 11   and therefore may be liable on such a theory—an issue that was not presented or
 12   decided in the Superior Court Action. Plaintiffs desire a declaration establishing
 13   that they are not alter egos of the Superior Court Defendants. Without such a
 14   declaration, defendants could potentially attempt to enforce their $60,000,000-plus
 15   judgment against plaintiffs on an alter ego basis.
 16                           Misconduct by Christopher Adams
 17         50.    Apparently not content with having parlayed an outlay of a few
 18   hundred thousand dollars into a $60 million-plus judgment, Christopher Adams has
 19   recently embarked on an effort to smear and defame Cirrus Beijing and interfere
 20   with its business prospects, as described below.
 21         51.    Cirrus Beijing has an outstanding application for listing on the NEEQ
 22   (the National Equities Exchange and Quotations), an over-the-counter Chinese
 23   stock exchange which provides a greater depth of financing for Chinese small-to-
 24   medium enterprises like Cirrus Beijing. The NEEQ is regulated by the China
 25   Securities Regulatory Commission.
 26         52.    If Cirrus Beijing’s application for listing on the NEEQ were to be
 27   approved, the company’s financial and growth prospects would be significantly
 28   enhanced. A public company listing would facilitate the company’s efforts to raise

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  1   capital in support of its current efforts to expand in order to take advantage of
  2   favorable market conditions.
  3         53.    On November 9, 2016, Adams sent a letter to the NEEQ’s Surveillance
  4   Department of Exchange, for the expressly stated purpose of “urg[ing] the NEEQ to
  5   inspect the evidence I provide and suspend the processing of [Cirrus Beijing’s]
  6   application [for NEEQ listing].” A copy of this letter is attached as Exhibit A to
  7   this complaint, and is incorporated by reference. Unfortunately, much of the
  8   purported “evidence” provided in Adams’ letter was false and libelous.
  9         54.    Adams’ letter to NEEQ contains patently false statements regarding
 10   the ownership and control of Cirrus Beijing. Adams represented in his letter that
 11   “[t]he share interest diagram of all parties is shown in Appendix II.” Id. In
 12   Appendix II, Adams included the following purported organizational chart, which
 13   he titled “Share Interest Diagram (as confirmed by two judgments in the Superior
 14   Court of California)”: 2
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      2
       This image is presented exactly as it appears in Adams’ letter, including the cut-
 28   off words in the boxes.
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  1          55.   This chart is entirely inaccurate. The relationships it purports to depict
  2   were not, as Adams contends, “confirmed” in the Superior Court Action or in any
  3   other action. To the contrary, nothing in the record in the Superior Court Action
  4   provides support for the relationships depicted in the chart, let alone in the two
  5   judgments that were issued in the Superior Court Action. Most strikingly, Cirrus
  6   Beijing is not owned 100% by “English Exchange HK” [sic], and Cirrus Beijing
  7   has never been owned, in whole or in part, by English Xchange HK. As described
  8   above, Cirrus Beijing is a Chinese operating entity owned approximately 22% by
  9   Cirrus Ltd. and approximately 21% by CEI. The remaining shares in Cirrus Beijing
 10   are owned by Chinese investors, not by English Exchange HK. There is no
 11   corporate or ownership connection between Cirrus Beijing and English Xchange
 12   HK.
 13          56.   Similarly, Adams’ letter to NEEQ falsely claims that “[t]he parent
 14   company of [Cirrus Beijing] is English Exchange Pte. Ltd. (“EXPL”).” As
 15   explained above, this is false. EXPL is not the “parent company” of Cirrus Beijing,
 16   and never was. Cirrus Beijing is owned entirely by different shareholders, with no
 17   ownership whatsoever by EXPL.
 18          57.   Adams concluded his letter to NEEQ by “request[ing] the Surveillance
 19   Department of Exchange of the NEEQ to review the provided evidence and make
 20   an appropriate decision with regards to Cirrus’ application for listing on the NEQQ
 21   [sic], including but not limited suspending the review of, and rejecting, Cirrus’
 22   listing.”
 23          58.   The false and libelous statements in Adams’ letter to NEEQ have
 24   proximately caused significant harm to Cirrus Beijing. Upon review of the false
 25   and libelous statements in Adams’ letter, the primary investment bank leading the
 26   listing for Cirrus Beijing informed the company that it would no longer be pursuing
 27   the listing, in view of the allegations made in Adams’ letter.
 28          59.   The failure of Cirrus Beijing’s listing application, which is a direct

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  1   result of Adams’ false and libelous letter, will force Cirrus Beijing to significantly
  2   scale back its planned business growth and operational plans. Cirrus Beijing had
  3   been planning to take advantage of a public listing by raising significant capital to
  4   ramp up with thousands of partners in the coming year. Adams’ interference with
  5   the listing will at a minimum cause significant delay to the company’s fundraising
  6   and growth plans, if not altogether preventing those plans from coming to fruition.
  7                                 LIVE CONTROVERSY
  8         60.    There exists a live controversy in this case because Cirrus Beijing has
  9   been injured as a result of the false and libelous statements made by Adams, as
 10   described above and as further alleged below. In addition, with respect to
 11   plaintiffs’ claim for declaratory relief, defendants have previously identified their
 12   intent to pursue alter ego claims against plaintiffs, informing the Superior Court
 13   that they intended to “put on evidence of alter ego and ask [the court] for a
 14   judgment against Cirrus Ltd.” This is not an issue that has ever been presented,
 15   litigated or determined in the Superior Court Action. Given defendants’ prior
 16   statement in open court indicating their intent to pursue alter ego claims against
 17   plaintiffs, there exists a real and reasonable apprehension that defendants will seek
 18   to impose liability on the plaintiffs by claiming they are alter egos of the Superior
 19   Court Defendants.
 20                              FIRST CAUSE OF ACTION
 21                                        Defamation
 22                 By Plaintiff Cirrus Beijing Against Defendant Adams
 23         61.    Plaintiffs hereby allege and incorporate by reference paragraphs 1
 24   through 60, inclusive, of this Complaint, as though fully set forth herein.
 25         62.    On or about November 9, 2016, Adams made at least the following
 26   defamatory statements about Cirrus Beijing in a letter sent to the NEEQ:
 27                a. Adams falsely indicated in Appendix II to the letter that Cirrus
 28                   Beijing is owned 100% by English Exchange HK.

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  1                  b. Adams falsely stated that “[t]he parent company of [Cirrus Beijing]
  2                     is English Exchange Pte. Ltd. (“EXPL”).”
  3            63.   These statements were entirely false.
  4            64.   Adams’ defamatory representations had the actual effect of interfering
  5   with Cirrus Beijing’s application for listing on the NEEQ by deterring the
  6   investment bank handling the listing application from further association with
  7   Cirrus Beijing.
  8            65.   At a minimum, Adams failed to use reasonable care to determine the
  9   truth or falsity of these statements. Indeed, Adams knew that these statements were
 10   false.
 11            66.   These statements identified above were defamatory and libelous on
 12   their face, and Cirrus Beijing therefore need not establish that it suffered special
 13   damages as a result of the defamation. But in the alternative, Cirrus Beijing plainly
 14   suffered damages as a proximate result of Adams’ defamatory statements, namely,
 15   that the failure of Cirrus Beijing’s listing application (as a result of Adams’ letter)
 16   will force the company to significantly scale back its growth plans.
 17            67.   Adams acted with reckless, willful or callous disregard for Cirrus
 18   Beijing’s rights and with malice, fraud or oppression toward it, thereby entitling
 19   Cirrus Beijing to an award of punitive damages in accordance with proof at trial.
 20                              SECOND CAUSE OF ACTION
 21             Intentional Interference With Prospective Economic Advantage
 22                  By Plaintiff Cirrus Beijing Against Defendant Adams
 23            68.   Plaintiffs hereby allege and incorporate by reference paragraphs 1
 24   through 67, inclusive, of this Complaint, as though fully set forth herein.
 25            69.   Cirrus Beijing had an economic relationship with NEEQ that would
 26   have resulted in economic benefit to Cirrus Beijing.
 27            70.   Adams knew of this relationship, as evidenced by the fact that he sent
 28   a letter to NEEQ with the stated intention of severing the relationship.

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  1         71.       Adams expressly and admittedly intended to interfere with the
  2   relationship between Cirrus Beijing and NEEQ.
  3         72.       Adams engaged in wrongful conduct to disrupt the relationship
  4   between Cirrus Beijing and NEEQ. As alleged above and incorporated here by
  5   reference, Adams made false and defamatory statements in a letter sent to NEEQ.
  6         73.       As a direct and proximate result of Adams’ conduct, Cirrus Beijing’s
  7   relationship with NEEQ has been disrupted. As a direct and proximate result of
  8   Adams’ conduct, Cirrus Beijing has been harmed in that its listing prospects are
  9   now uncertain and its growth plans forced to be scaled back. Cirrus Beijing has
 10   been and will continue to be damaged in an amount to be proven at trial.
 11         74.       Adams acted with reckless, willful or callous disregard for Cirrus
 12   Beijing’s rights and with malice, fraud or oppression toward it, thereby entitling
 13   Cirrus Beijing to an award of punitive damages in accordance with proof at trial.
 14                                THIRD CAUSE OF ACTION
 15            Negligent Interference With Prospective Economic Advantage
 16                   By Plaintiff Cirrus Beijing Against Defendant Adams
 17         75.       Plaintiffs hereby allege and incorporate by reference paragraphs 1
 18   through 74, inclusive, of this Complaint, as though fully set forth herein.
 19         76.       Cirrus Beijing had an economic relationship with NEEQ that would
 20   have resulted in economic benefit to Cirrus Beijing.
 21         77.       Adams knew or should have known of this relationship, as evidenced
 22   by the fact that he sent a letter to NEEQ with the stated intention of severing the
 23   relationship.
 24         78.       Adams knew or should have known that if he did not act with due care,
 25   his actions would interfere with Cirrus Beijing’s relationship with NEEQ and cause
 26   Cirrus Beijing to lose in whole or in part the probable future economic benefit of
 27   the relationship. Adams failed to act with reasonable care when he made false and
 28   defamatory statements in a letter sent to NEEQ.

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  1         79.    Adams engaged in wrongful conduct to disrupt the relationship
  2   between Cirrus Beijing and NEEQ. As alleged above and incorporated here by
  3   reference, Adams made false and defamatory statements in a letter sent to NEEQ.
  4         80.    As a direct and proximate result of Adams’ conduct, Cirrus Beijing’s
  5   relationship with NEEQ has been disrupted. As a direct and proximate result of
  6   Adams’ conduct, Cirrus Beijing has been harmed in that its listing prospects are
  7   now uncertain and its growth plans forced to be scaled back. Cirrus Beijing has
  8   been and will continue to be damaged in an amount to be proven at trial.
  9                             FOURTH CAUSE OF ACTION
 10        Violation Of California Business & Professions Code § 17200, et seq.
 11                 By Plaintiff Cirrus Beijing Against Defendant Adams
 12         81.    Plaintiffs hereby allege and incorporate by reference paragraphs 1
 13   through 80, inclusive, of this Complaint, as though fully set forth herein.
 14         82.    Adams has engaged in unfair competition by virtue of making false
 15   and defamatory statements in a letter sent to NEEQ with the intent of interfering
 16   with Cirrus Beijing’s listing application.
 17         83.    As a direct and proximate result of Adams’ unfair competition, Cirrus
 18   Beijing has been harmed in that its listing prospects are now uncertain and its
 19   growth plans forced to be scaled back.
 20         84.    Unless restrained, Adams will continue in the acts and conduct set
 21   forth above to Cirrus Beijing’s great and irreparable injury, for which damages will
 22   not afford adequate relief. Cirrus Beijing is entitled to an injunction to restrain
 23   Adams from continuing to make false and/or defamatory statements.
 24                              FIFTH CAUSE OF ACTION
 25                                    Declaratory Relief
 26                        By All Plaintiffs Against All Defendants
 27         85.    Plaintiffs hereby allege and incorporate by reference paragraphs 1
 28   through 84, inclusive, of this Complaint, as though fully set forth herein.

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  1         86.    The plaintiffs seek a declaratory judgment establishing that the
  2   plaintiffs, on the one hand, and the Superior Court Defendants, on the other hand,
  3   are not alter egos with respect to any potential claims by the defendants.
  4         87.    The plaintiffs are separate and distinct from EXPL, and are not alter
  5   egos of that entity or any of the Superior Court Defendants.
  6         88.    The requirements for establishing alter ego liability under California
  7   law are well-established. In order to hold a company liable for a judgment as an
  8   alter ego, despite that company not having appeared in the lawsuit to defend itself, a
  9   party must show “(1) that there is such unity of interest and ownership that the
 10   separate personalities [of the two entities] no longer exist and (2) that failure to
 11   disregard [their separate identities] would result in fraud or injustice.” Harris
 12   Rutsky & Co. Ins. Servs., Inc. v. Bell & Clements Ltd., 328 F.3d 1122, 1134-35 (9th
 13   Cir. 2003). In addition, in order to address due process concerns, an alleged alter
 14   ego must have “controlled the defense of the litigation.” NEC Elecs. Inc. v. Hurt,
 15   208 Cal. App. 3d 772, 781, 256 Cal. Rptr. 441, 446 (1989).
 16         89.    There are a number of considerations for determining whether there is
 17   a unity of interest and ownership. These include, for example, “inadequate
 18   capitalization, commingling of funds and other assets of the two entities, the
 19   holding out by one entity that it is liable for the debts of the other, identical
 20   equitable ownership in the two entities, use of the same offices and employees, use
 21   of one as a mere conduit for the affairs of the other, disregard of corporate
 22   formalities, lack of segregation of corporate records, and identical directors and
 23   officers.” VirtualMagic Asia, Inc. v. Fil-Cartoons, Inc., 99 Cal. App. 4th 228, 245
 24   (2002). The evidence in this case will demonstrate that these factors do not exist,
 25   and therefore that the Court should determine that the plaintiffs are not the alter
 26   egos of the Superior Court Defendants.
 27         90.    First, there is no evidence of inadequate capitalization, and in fact the
 28   evidence will establish the opposite. EXPL was not inadequately capitalized. To

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  1   the contrary, EXPL had received millions of dollars in investments and loans over
  2   its years in existence. It was not through any withdrawal of funds from the
  3   company that it eventually failed, but a number of other factors, including global
  4   and regional economic conditions, failures by Adams to raise capital, and the
  5   unfavorable timing of the offering of the language service, among other business-
  6   related reasons. This was recognized by several of the investors in EXPL.
  7         91.    The evidence will also demonstrate that there was no commingling of
  8   any funds between the plaintiffs and the Superior Court Defendants. EXPL’s assets
  9   were never commingled with those of the plaintiffs. Any of EXPL’s assets that
 10   were ultimately owned by the plaintiffs were acquired through a formal
 11   receivership process that was conducted during the wind-down of the company by
 12   an independent receiver working pursuant to Singapore law.
 13         92.    The plaintiffs have never held themselves out as liable for the debts of
 14   EXPL.
 15         93.    The evidence will also establish that the ownership of EXPL compared
 16   to the ownership structure of the plaintiffs is nearly completely different in
 17   composition. It is improper to treat the plaintiffs as if they are effectively the same
 18   as EXPL where the investments and ownership in the two companies are almost
 19   completely distinct. Of CEI’s over 50 individual and corporate shareholders, only
 20   three were also shareholders of EXPL.
 21         94.    As illustrated in the following chart, those shareholders held just
 22   1.78% of EXPL’s shares:
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  1
                                               EXPL Shares
  2
                                                      1.78%
  3
  4
  5
  6
                                                 98.22%
  7
  8
  9                               Future CEI Shareholders       Other shareholders

 10
 11         95.    Similarly, just 7.23% of CEI’s shares are held by former EXPL
 12   shareholders. Thus, 92.77% of the ownership of CEI is completely unique from the
 13   ownership of EXPL.
 14
 15                                             CEI Shares

 16
                                                        7.23%
 17
 18
 19
                                            92.77%
 20
 21
 22
                                 Former EXPL Shareholders        Other Shareholders
 23
 24
      The starkly different ownership of the respective entities highlights that these are in
 25
      fact different entities, and could not be deemed to be alter egos of each other.
 26
            96.    EXPL regularly conducted itself in accordance with the law, and
 27
      maintained records for all corporate activities. When EXPL had to wind down, that
 28

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  1   receivership process was handled by an independent receiver, and then liquidator.
  2   The assets of EXPL were valued by an independent consultant. The entire process
  3   was well-documented, and notice was provided to all interested parties that the
  4   company was winding down through proxy statements or otherwise. In the process,
  5   all investors lost out – not just Adams. In fact, some investors admitted that they
  6   “lost a lot of money” when EXPL was dissolved, but that they understood that that
  7   was a risk with their investment. They reviewed the valuations of the company and
  8   acknowledged that the company simply could no longer operate. The plaintiffs also
  9   maintain corporate records as required by law.
 10         97.    The plaintiffs are not alter egos of EXPL, and no inequitable result
 11   would follow a refusal to disregard the corporate identities of the plaintiffs. The
 12   plaintiffs in the Superior Court Action, for example, have prevailed against the
 13   Superior Court Defendants following their trial. They can pursue a money
 14   judgment against those individuals and entities, subject to that claim being affirmed
 15   by California’s appellate courts. Further, Adams has not demonstrated he has
 16   invested any amount into the EXPL entities. There is no meaningful loss to him.
 17         98.    On the contrary, an inequitable result will follow if the plaintiffs are
 18   found to be alter egos of the Superior Court Defendants. Because over 90% of the
 19   shares of the plaintiffs in this case are owned by individuals who had no interest in
 20   EXPL, the great majority of the shareholders will suffer a loss based on no
 21   wrongdoing on their part at all. There would be no equity in forcing a loss on these
 22   innocent bystanders, who would all lose investment money.
 23         99.    Finally, the plaintiffs did not control the litigation in the Superior
 24   Court Action. In fact, the plaintiffs had no part or involvement in the litigation.
 25   Control of litigation is also based on a number of factors, including whether the
 26   alter egos financed the litigation, hired the attorneys, and controlled the course of
 27   the litigation. The plaintiffs never financed the litigation of the Superior Court
 28   Action. Nor did the plaintiffs hire the attorneys representing the defendants in that

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  1   case. They did not control the litigation either. There was no mention of the
  2   lawsuit in any corporate meetings, even with respect to Topolewski and Mu
  3   individually.
  4         100. The plaintiffs are not alter egos of the Superior Court Defendants. The
  5   overwhelming weight of all of the considerations for a finding of alter ego strongly
  6   favors such a conclusion. The plaintiffs are therefore entitled to a judgment
  7   declaring that fact.
  8         101. Further, it is well-established that the law would not permit any court
  9   to engage in “reverse piercing” of the corporate veil to find the plaintiffs to be alter
 10   egos of Mu and Topolewski. Only by a so-called “reverse piercing” of the
 11   corporate veil can a corporation be found liable for the debts of its shareholders
 12   held by a third party. But the “reverse piercing” doctrine has been soundly rejected
 13   in California. See United States v. One Hundred Thirty-Three 133 United States
 14   Postal Serv. Money Orders Totaling $127,479.24, 496 F. App'x 723, 725 (9th Cir.
 15   2012).
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  1                                 PRAYER FOR RELIEF
  2         WHEREFORE, plaintiffs pray for relief and judgment, as follows:
  3         a)      That Cirrus Beijing be awarded actual, compensatory, and restitution
  4   damages in an amount to be determined at trial;
  5         b)      That Cirrus Beijing be awarded exemplary and/or punitive damages;
  6         c)      That Adams be enjoined from making further false and/or defamatory
  7   statements;
  8         d)      That the Court issue a declaratory judgment in favor of plaintiffs,
  9   declaring that plaintiffs are not the alter egos of the Superior Court Defendants;
 10         e)      That plaintiffs be awarded their costs, expenses and attorney fees
 11   incurred herein; and
 12         f)      For such other and further relief as the Court deems just and proper.
 13                               JURY TRIAL DEMANDED
 14         Plaintiffs hereby demand a trial by jury on all causes of action so triable.
 15
 16    Dated: December 12, 2016           ORRICK, HERRINGTON & SUTCLIFFE LLP

 17
                                          By:             /s/ Michael C. Tu
 18                                                           Michael C. Tu
 19
                                          Attorneys for Plaintiffs Cirrus Education Inc.,
 20                                       Cirrus (Beijing) Corp., Cirrus Ltd. and iQ-Hub
 21                                       PTE Ltd.

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